Case: 4:22-cv-00875-SPM           Doc. #: 75     Filed: 12/09/24     Page: 1 of 8 PageID #: 432




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

    SABRINA BYRD, et al.,                         )
                                                  )
                 Plaintiffs,                      )
                                                  )
          v.                                      )     Case No. 4:22-CV-875-SPM
                                                  )
    U.S. SILICA CO.,                              )
                                                  )
                 Defendant.                       )

                           MEMORANDUM OPINION AND ORDER

          This matter is before the Court on Plaintiffs’ Memorandum Showing Cause Why

Sanctions Under Rule 37(a)(B)(5) should be denied. (ECF No. 72). The time for Defendant to file

a response has expired. For the following reasons, the Court will order Plaintiffs’ counsel to pay

Defendant’s s reasonable expenses incurred in opposing Plaintiffs’ Motion to Compel and Motion

for Sanctions, including attorney’s fees.

         I.     BACKGROUND

          On June 21, 2024, this Court entered an order denying Plaintiffs’ Motion to Compel and

Motion for Sanctions Directed to Defendant U.S. Silica Co. ECF No. 66. 1 The Court found that

the motion to compel should be denied because Plaintiffs did not make a good faith attempt to

resolve the discovery dispute before filing their motion to compel, as required by Rule 37(a)(1) of

the Federal Rules of Civil Procedure, Rule 3.04(A) of the Local Rules for the United States District

Court for the Eastern District of Missouri, and this Court’s orders. The Court also discussed the

merits of several specific issues raised in the motion to compel and found Plaintiffs’ motion to


1
 The Court’s June 21st order contains a detailed discussion of the background relevant to the
motion to compel and the issues raised in the motion to compel; that discussion will not be repeated
here.
Case: 4:22-cv-00875-SPM           Doc. #: 75      Filed: 12/09/24      Page: 2 of 8 PageID #: 433




compel mostly without merit. The Court ultimately denied the motion to compel and motion for

sanctions, ordered Defendant to supplement its response to one request (Request for Production

#28), ordered Defendant to supplement its objections to several other requests to clarify whether

any documents were being withheld based on the objections, ordered the parties to meet and confer

to resolve outstanding issues related to the privilege log and certain other requests, and ordered

Plaintiffs’ counsel to show cause why the Court should not impose sanctions against him pursuant

to Fed. R. Civ. P. 37(a)(5)(B).

       II.     LEGAL STANDARD

       Under Rule 37(a)(5)(B), if a motion to compel is denied, “the court . . . must, after giving an

opportunity to be heard, require the movant, the attorney filing the motion, or both to pay the

party . . . who opposed the motion its reasonable expenses incurred in opposing the motion, including

attorney’s fees. But the court must not order this payment if the motion was substantially justified or

other circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(B). “A motion is

‘substantially justified’ if it raises an issue about which ‘there is a genuine dispute, or if reasonable

people could differ as to the appropriateness of the contested action.’” Doe v. Lexington-Fayette Urb.

Cnty. Gov't, 407 F.3d 755, 765 (6th Cir. 2005) (quoting Pierce v. Underwood, 487 U.S. 552, 565

(1988)). “There is no bright line standard for ‘substantial justification,’” and courts must use

discretion in assessing whether this standard is satisfied. See Foxley Cattle Co. v. Grain Dealers Mut.

Ins. Co., 142 F.R.D. 677, 679 (S.D. Iowa 1992). The purpose of the rule is to “protect courts and

opposing parties from delaying or harassing tactics during the discovery process.” Cunningham v.

Hamilton County, 527 U.S. 198, 208 (1999).

       III.    DISCUSSION

       Plaintiffs argue that the Court should not order payment of expenses because the motion to



                                                  2
Case: 4:22-cv-00875-SPM          Doc. #: 75       Filed: 12/09/24      Page: 3 of 8 PageID #: 434




compel was substantially justified for two reasons: (1) Plaintiffs believed in good faith that the motion

to compel was proper and necessary because the parties had reached an impasse; and (2) the Court’s

June 21, 2024, Order denying the motion to compel required Defendant to take some actions that

were consistent with what Plaintiffs alleged in their motion to compel. In the alternative, Plaintiffs

argue that apportionment of expenses under Rule 37(a)(5)(C) would be more fitting than sanctions

against Plaintiffs’ counsel because the Court effectively granted parts of the motion to compel.

       After review of the record, the Court finds Plaintiffs’ arguments unpersuasive and finds

Plaintiffs did not have substantial justification for filing the motion to compel. As the Court set out

in its June 21st Order, both the Federal Rules of Civil Procedure and the Local Rules for this Court

require that, before filing a motion to compel, the movant in good faith confer or attempt to confer

with the party who has failed to make disclosure or discovery. See Fed. R. Civ. P. 37(a)(1); E.D. Mo.

L.R. 3.04(A). Additionally, in the January 30th Order on which the motion to compel was based, the

Court stated:

       IT IS FINALLY ORDERED that with respect to all of the interrogatories and
       requests for production addressed in the parties’ Joint Memorandum, the parties
       are directed to engage in good-faith negotiations and attempt to resolve
       outstanding discovery issues in the manner discussed on the record at the
       discovery conference. As it pertains to the issues discussed at the discovery
       conference, the parties may file a motion to compel discovery, overrule
       objections, and/or for a protective order only if, after engaging in the type of
       good-faith negotiations described by the Court during the conference, they are
       unable to resolve the issues without court intervention.

ECF No. 59 (emphasis added). This order followed a lengthy discovery conference at which the Court

directed the parties to meet and confer after Defendant’s February 9th supplemental responses to

narrow the issues, repeatedly told the parties to “talk” to each other, repeatedly described the type of

back-and-forth negotiations it expected the parties to engage in (including describing hypothetical

exchanges the parties might have about particular topics), and noted at one point that although “it’s



                                                  3
Case: 4:22-cv-00875-SPM           Doc. #: 75      Filed: 12/09/24      Page: 4 of 8 PageID #: 435




easier to shoot emails at each other,” the Court expected the parties to “sit around the conference

room table” to figure out what they really wanted and “keep the process moving.”

       There is nothing to indicate that Plaintiffs’ counsel engaged in any conduct that satisfied—or

that a reasonable person could have believed satisfied—the good-faith negotiation requirement that

was an express prerequisite to filing a motion to compel. It does not appear that Plaintiffs’ counsel

ever discussed the issues in the motion to compel with defense counsel either in person or by

telephone between the discovery conference and the filing of the motion to compel, despite having

several months to do so and despite at least two suggestions from defense counsel (one on May 9th

and one on June 6th) that the parties schedule a phone call to discuss the issues. See ECF No. 69-5,

at pp. 1, 5. Plaintiffs’ counsel’s only attempt to discuss these issues by phone or in person with defense

counsel during this period appears to have been a single voice mail left the day before the motion to

compel was filed, in which Plaintiffs’ counsel apparently told defense counsel that the disputes

needed to be taken up with the Court. See Pls.’ Mem., ECF No. 72, at 2. Plaintiffs’ email

communications with defense counsel during the relevant period—two emails sent on May 29th—

also do not come close to showing an attempt at good faith negotiations. The first email accused

Defendant of having willfully violated the Court’s discovery order, threatened court involvement if

documents were not produced within seven days, and concluded, “Feel free to call my cell [number]

to discuss the same, but know there really isn’t anything to discuss.” ECF No. 69-5, at pp. 3-5. The

second answered a question from defense counsel and explained Plaintiffs’ reasons for the scope of

Plaintiffs’ document requests. ECF No. 69-5, at p. 2. No reasonable person could have believed that

this series of communications satisfied the Court’s express requirement that the parties “engage in

good-faith negotiations and attempt to resolve outstanding discovery issues in the manner discussed

on the record at the discovery conference” before filing a motion to compel.



                                                  4
Case: 4:22-cv-00875-SPM           Doc. #: 75       Filed: 12/09/24      Page: 5 of 8 PageID #: 436




       It also does not appear that Plaintiffs’ counsel could reasonably have believed that Defendant

was no longer willing to negotiate or that the parties were at an impasse. The same day Plaintiffs sent

the May 29th email, defense counsel responded, stating that he was working with his client on these

issues and asking a clarifying question. ECF No. 69-5, at pp. 2-5. Defense counsel followed up on

June 6th,, this time attaching a supplemental privilege log, stating that Defenant was finalizing review

of several thousand additional documents and would supplement the production early the following

week, 2 stating that it was standing on its objection to producing post-accident material, and suggesting

a call to discuss any of these issues in greater detail. ECF No. 69-5, at p. 1. Plaintiffs’ counsel then

called defense counsel and left a voice mail on June 6th, received a voice mail in response on June

7th that included the phrase, “I understand it . . . ” in response to Plaintiffs position that the disputes

needed to be taken up with the Court, 3 and filed the motion to compel the same day. This series of

exchanges would not have led a reasonable attorney to a belief that the parties were at an impasse and

that immediate Court intervention was necessary, especially given defense counsel’s email one day

before indicating that it would be producing documents the following week and that defense counsel

was willing to discuss the issues.

       Even if the Court were to ignore Plaintiffs’ failure to engage in the good faith negotiations

ordered by the Court before filing the motion to compel, the Court would also find that Plaintiffs

lacked substantial justification for filing the motion to compel on the merits. As the Court noted in



2
  Plaintiffs argue that Defendant only disclosed the existence of these additional several thousand
emails because it knew Plaintiffs would be filing the motion to compel (presumably because of the
May 29th email threatening court intervention). Perhaps that is the case, but perhaps Defendant would
also have disclosed them had Plaintiffs made a good faith attempt at resolution before threatening
court intervention.
3
 It is not at all clear from Plaintiffs’ counsel’s description of the voice mails what their specific
content was. See Pls.’ Mem., ECF No. 72, at p. 2.


                                                   5
Case: 4:22-cv-00875-SPM          Doc. #: 75       Filed: 12/09/24      Page: 6 of 8 PageID #: 437




its order denying the motion to compel, the essence of Plaintiffs’ motion to compel full and complete

discovery responses was not that Defendant had refused to produce responsive documents, but rather

that Defendant had violated the Court’s January 30th Order because that order implicitly overruled

Defendant’s objections to the disputed requests and required Defendant to respond to those requests

“as written and in full.” See Mem. Opin. & Order, ECF No. 71, at 12. As the Court has already found,

that is not what the Order did; instead, it “makes clear that the Court reserved the issue of whether to

compel discovery or to sustain or overrule objections” by stating, “As it pertains to the issues

discussed at the discovery conference, the parties may file a motion to compel discovery, overrule

objections, and/or for a protective order only if, after engaging in the type of good-faith negotiations

described by the Court during the conference, they are unable to resolve the issues without court

intervention.” Id. at 13. The Court now further finds that Plaintiffs’ interpretation of the January 30th

Order is not one as to which “reasonable people could differ,” Doe, 407 F.3d at 765, as might support

a finding of substantial justification. Plaintiffs’ interpretation was not supported by the language of

the January 30th Order. The Court has also reviewed the audio of the January 30th discovery

conference to assess whether any statements made at the conference might have given a reasonable

attorney the impression that the Court was overruling Defendant’s objections or was ordering

Defendant to provide responses as written and in full. The Court found no such statements. To the

contrary, the Court and counsel discussed at several points during the discovery conference that some

of Plaintiffs’ requests were “problematic,” that Defendant would be producing supplemental

responses subject to objections, that the parties would need to discuss the requests and objections and

attempt to resolve the issues, and that if the parties were unable to reach agreement, Plaintiffs’

counsel could later ask the Court to overrule specific objections. Plaintiffs’ decision to file a motion

to compel premised on the position that the January 30th Order required Defendant to file full



                                                  6
Case: 4:22-cv-00875-SPM          Doc. #: 75      Filed: 12/09/24     Page: 7 of 8 PageID #: 438




responses without objection was not substantially justified.

       The Court is also unpersuaded by Plaintiffs’ argument that the motion to compel was

substantially justified because the Court required Defendant to take various actions that were

consistent with what Plaintiffs alleged in their Motion to Compel. The Court acknowledges that there

are some aspects of the June 21st Order denying Plaintiff’s motion to compel that are consistent with

aspects of Plaintiffs’ motion to compel, including the Court’s finding that Defendant’s response to

one Request for Production was evasive and incomplete, the Court’s order requiring Defendant to

supplement its objections by stating whether any responsive materials were being withheld based on

objections, and the Court’s guidance to both parties regarding the required components of a privilege

log. But the Court made those statements only after denying the motion to compel in its entirety based

on Plaintiff’s failure to comply with the good-faith negotiation requirement. Additionally, the Court

made those statements in the context of a broad motion to compel that it found, for the most part, to

be without merit and based on an incorrect reading of the Court’s January 30th Order. The fact that a

few of the issues raised may have had some merit had they been presented properly to the Court does

not provide substantial justification for Plaintiff’s prematurely filed and overly broad motion to

compel.

       Finally, Plaintiffs suggest that the Court should treat the motion to compel as having been

granted in part and denied in part and should apportion expenses to Plaintiffs’ counsel and defense

counsel accordingly, pursuant to Fed. R. Civ. P. 37(a)(5)(C). For the reasons stated above, the Court

finds this inappropriate because the motion to compel was denied in its entirety. Moreover, even if

the Court had granted Plaintiffs’ motion in part, Rule 37(a)(5)(A)(i) precludes an award of fees for a

successful motion to compel that was filed before a good faith attempt to obtain the disclosure or

discovery without court action. See Fed. R. Civ. P. 37(a)(5)(i).



                                                 7
Case: 4:22-cv-00875-SPM         Doc. #: 75        Filed: 12/09/24   Page: 8 of 8 PageID #: 439




       IV.     CONCLUSION

         For the reasons stated above, the Court finds Plaintiffs have not shown that their motion

to compel was substantially justified or that an award of expenses would be unjust. Accordingly,

         IT IS HEREBY ORDERED that Plaintiffs’ counsel shall pay Defendant’s reasonable

expenses, including attorney’s fees, incurred in opposing Plaintiffs’ Motion to Compel and Motion

for Sanctions Directed to Defendant U.S. Silica Co. (ECF No. 66).

         IT IS FURTHER ORDERED that Defendant shall file documentation of the reasonable

expenses, including attorney’s fees, it incurred in opposing Plaintiff’s Motion to Compel and

Motion for Sanctions no later than Friday, December 20, 2024. Plaintiffs’ objections, if any, shall

be filed no later than Friday, January 3, 2025.

Dated: December 9, 2024.



                                                  SHIRLEY PADMORE MENSAH
                                                  UNITED STATES MAGISTRATE JUDGE




                                                  8
